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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 PAPE M. DIEDHIOU,
                                                             Civil Action No. 1:20-CV-20-5685
                              Plaintiff
                                                           Affirmation in Support of Request
        v.                                                      for Clerk’s Certificate of
                                                                  Default Against The
 THE REPUBLIC OF SENEGAL AND                                      Republic of Senegal
 TERANGA, LLC

                              Defendants



      The undersigned hereby declares as follows:

       1) I am counsel for the Plaintiff in this action.

       2) Defendant, the Republic of Senegal, was properly served under Fed. R. Civ. P. 4 and 28

             U.S.C. § 1608, and proof of service has been filed with the Court.

       3) The time for Defendant to answer or otherwise move with respect to Plaintiff’s complaint

             herein has expired.

       4) Defendant is not an infant or incompetent person.

       5) Defendant is not presently in the military service of the United States.

      I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information and belief.

Dated: New York, NY
       December 25, 2020

                                          Signed:
                                                    ________________________
                                                    J.R. Skrabanek
